64 F.3d 657
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Donyel S. HOBSON, Petitioner--Appellant,v.VIRGINIA PAROLE BOARD;  Commonwealth of Virginia;  ClarenceL. Jackson, Jr., Chairman;  Edward Murray,Director, Respondents--Appellees.
    No. 95-6287.
    United States Court of Appeals, Fourth Circuit.
    Aug. 16, 1995.
    
      Donyel S. Hobson, appellant pro se.
      Mary Elizabeth Shea, Office of the Attorney General of Virginia, Richmond, VA, for appellees.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Hobson v. Virginia Parole Bd., No. CA-94-1331 (E.D.Va. Jan. 30, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    